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                   United States Court of Appeals
                                   For the First Circuit
      No. 22-1976
           GEIDY MAVELY SOTO ALVARADO; MAURICIO ANTONIO GARCIA SOTO,

                                       Plaintiffs - Appellants,

                                                  v.

       MERRICK B. GARLAND, Attorney General; ALEJANDRO MAYORKAS, Secretary, United
         States Department of Homeland Security; LAURA B. ZUCHOWSKI, Director, Vermont
         Service Center for United States Citizenship and Immigration Services; UR MENDOZA
         JADDOU, Director, United States Citizenship and Immigration Services; US DEPT. OF
           HOMELAND SECURITY; U.S. CITIZENSHIP AND IMMIGRATION SERVICES,

                                       Defendants - Appellees.


                                            MANDATE

                                       Entered: July 26, 2023

             In accordance with the judgment of July 26, 2023, and pursuant to Federal Rule of
      Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                               By the Court:

                                               Maria R. Hamilton, Clerk


      cc:
      Aneesa Ahmed
      Hans Bremer
      Richard B. Myrus
      Amy Romero
      Lauren S. Zurier
